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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

KAJEET, INC.                         §
                                     §
      Plaintiff,                     §                C.A. 21-cv-5-MN
                                     §
v.                                   §          JURY TRIAL DEMANDED
                                     §
MCAFEE CORP.                         §
                                     §
      Defendant.                     §

              PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT’S
                   MOTION FOR SANCTIONS UNDER RULE 11

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I.      NATURE AND STAGE OF THE PROCEEDINGS

        Plaintiff Kajeet, Inc. (“Plaintiff” or “Kajeet”) files this Brief in Opposition to McAfee

Corp.’s (“Defendant” or “McAfee”) Motion for Sanctions Under Rule 11. For the following

reasons, the Court should deny McAfee’s Motion in its entirety. After a thorough investigation of

the McAfee products accused of infringement in this case, Kajeet filed its Original Complaint on

January 24, 2021 for infringement of at least claims 1 and 27 of the ‘559 patent. On March 29,

2021, McAfee moved to dismiss the Original Complaint asserting that Kajeet had not met the

pleading requirements for direct and indirect infringement.

        Out of an abundance of caution and to conform to the Order of this Court from another

matter against Gryphon Online Safety, Inc., Kajeet filed its First Amended Complaint (“FAC”) in

this case on April 12, 2021. See Kajeet, Inc. v. Gryphon Online Safety, Inc., Case No. 19-cv-2370-

MN. In the FAC, Kajeet restated its detailed basis for infringement set forth in the Original

Complaint and also included a claim chart mapping the factual allegations about the design and

operation of McAfee’s products to specific elements of the asserted claims as well as including

links to product literature describing the operation of the accused products. On April 26, 2021,

McAfee filed another Motion to Dismiss challenging the sufficiency of the allegations in Kajeet’s

FAC. That Motion has been fully briefed and is still pending before the Court. Subsequently, on

July 30, 2021, McAfee served its Rule 11 Motion on Kajeet which was then filed on August 23,

2021.

II.     SUMMARY OF THE ARGUMENT

        There is nothing in McAfee’s Motion that shows Kajeet in any way violated Rule 11 by

bringing this suit or continuing forward with the litigation. In stark contrast to McAfee’s Motion,

Kajeet provides considerable evidence in this Opposition that not only its pre-suit investigation
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was thorough and sound but also that its infringement theory continues to be viable at this stage of

the case.

        First of all, the Motion is premature – a fact that McAfee recognized when objecting to

Kajeet’s interrogatories seeking information relevant to the issues presented here.1 McAfee has

deliberately filed its Motion now to circumvent the entire disclosure process that this Court has

adopted to govern patent cases, which includes orderly disclosure of technical document

production, exchange of infringement and validity contentions, claim construction, and expert

disclosure. The case is currently in its early stages and very little discovery has taken place.

McAfee produced only a few pages of technical documents as its purported “core technical

documents” and has refused to produce its other technical documents already requested by Kajeet

until about 4-6 weeks from now. In fact, McAfee served a copy of this Motion under the 21-day

safe harbor provision prior to receiving Kajeet’s Disclosure of Initial Claim Charts (infringement

contentions).

        McAfee’s refusal to produce the bulk of its technical information now is particularly telling

given that it chose not to include any actual evidence in its Motion regarding how its products

work. Instead, McAfee relies on mere attorney argument to request that this Court dismiss this

case with prejudice. Notably, McAfee does not cite to any technical documentation describing the

design, structure, or operation of its products. Nor does McAfee provide a declaration from one of

its engineers or other employees to support its non-infringement positions. Almost all of the

evidence regarding how McAfee’s products work is in McAfee’s possession, yet it elected not to

provide any of this evidence to the Court. Further, McAfee did not provide a declaration from a



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  When requested to disclose its noninfringement position(s) and bases therefore, McAfee objected
to the request as being premature. Infra, p.6.

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technical expert that has tested or reviewed documentation regarding the accused products.

Likewise, McAfee has not cited at all to its source code which it contends is the most relevant

information to the infringement issues in the case.

       As the evidence presented in this Opposition shows, Kajeet’s pre-suit investigation was

more than sufficient and included a detailed review of the relevant publicly available information.

Kajeet has litigated the patent-in-suit in prior litigations and applied the claims consistently to the

accused products in this case to determine that McAfee’s products infringed. After McAfee

informally raised its current non-infringement positions, Kajeet had its technical expert, Mr.

Chetan Sharma, reviewed these positions in light of the publicly available information and

information available from McAfee to date. As set forth below, Mr. Sharma tested the accused

products extensively to aid his understanding of their operation. He also used a network protocol

analyzer, Wireshark, to observe the communications between devices operating McAfee’s

software. In addition, he performed an initial review of McAfee’s source code. Through this review

and testing, Mr. Sharma’s reached conclusions that support Kajeet’s infringement theory.

       McAfee simply cannot show that Kajeet violated Rule 11 by filing this lawsuit or

continuing to litigate its case in light of the information available to Kajeet to date that confirms

its infringement position.

       McAfee’s three previous motions have not resulted in dismissal of this case. Clearly

dissatisfied, McAfee has now upped the ante by moving for sanctions, not to mention attempting

to disrupt the case’s progression. McAfee hopes, at best, to obtain dismissal before providing

Kajeet the benefit of fulsome discovery or claim construction, and at worst force Kajeet to disclose

expert opinions that McAfee would never otherwise receive at this early stage. Kajeet has filed

nineteen lawsuits - some of which involved similar accused features as McAfee - and resolved



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twelve of them. That no other defendant has filed a Rule 11 motion speaks volumes about

McAfee’s latest ploy.

III.   STATEMENT OF FACTS

       Kajeet’s efforts and ingenuity have yielded thirty-eight U.S. Patents, many of which

involve the same or similar technology as the claims of the asserted patent in this case. In order to

protect its intellectual property rights, Kajeet has licensed its technology and patents to others, in

some instances through enforcing its patents in litigation and in other instances through entering

non-litigation licenses.

       In the months prior to filing the current litigation, Plaintiff and its counsel performed a

thorough pre-suit investigation to determine that the accused McAfee products infringe the

asserted claims of the ‘559 Patent. The investigation included reviewing the ‘559 patent and its

file history. Kajeet and its counsel have litigated the asserted claims in prior cases and have

remained consistent in its view of the claims. They have been applied in Kajeet’s investigation of

McAfee products in a manner consistent with prior litigations. Plaintiff and its counsel reviewed

publicly available information related to McAfee’s Safe Family product and others that include

the same parental control features. The information reviewed included a number of publicly

available user guides, product specifications and videos authored by McAfee and others. Plaintiff

compared the information related to the McAfee products with the asserted claims of the ‘559

patent and determined that each product infringed. Kajeet and its counsel prepared a claim chart

with cites to the publicly available information showing how each product infringes. This analysis

is reflected in part in Kajeet’s complaints in this matter as well as in its Preliminary Infringement

Contentions.




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IV.   LEGAL STANDARDS

       Rule 11 imposes upon attorneys a duty to certify that they have read any pleadings or

motions they file and that they are well-grounded in fact, have a colorable basis in law, and are not

filed for an improper purpose. Fed. R. Civ. P. 11(b); Business Guides, Inc. v. Chromatic Comm.

Enters., Inc., 498 U.S. 533, 542 (1991); View Eng’g v. Robotic Vision Sys., 208 F.3d 981, 984

(Fed. Cir. 2000). “[T]he imposition of a Rule 11 sanction is not a judgment on the merits of an

action. Rather, it requires the determination of a collateral issue: whether the attorney has abused

the judicial process, and, if so, what sanction would be appropriate.” Cooter & Gell v. Hartmarx,

496 U.S. 384, 396 (1990). Courts consider factual questions relating to the extent of the attorney’s

pre-filing investigation and the bases underpinning the legal positions taken in a pleading when

deciding whether to impose sanctions. Cooter, 496 U.S. at 399. Courts are cautioned to avoid

viewing an attorney’s actions with the benefit of hindsight and, instead, “test the conduct by

inquiring what was reasonable to believe at the time the pleading, motion, or other paper was

submitted.” Fed. R. Civ. P. 11 Advisory Comm. Notes (1993 Amendments).

       Regional circuit law controls Rule 11 motions in patent infringement cases. ResQNet.com,

Inc. v. Lansa, Inc., 594 F.3d 860, 873 (Fed. Cir. 2010). Third Circuit law imposes an extremely

high burden for proving a Rule 11 violation. Sanctions are applied only “in the ‘exceptional

circumstance’ where a claim or motion is patently unmeritorious or frivolous.” Doering v. Union

County Bd. of Chosen Freeholders, 857 F.2d 191, 194 (3d Cir. 1988). The standard is whether

counsel made a “reasonable inquiry into both the facts and the law supporting a particular

pleading” to ensure it is well-grounded. Schering Corp. v. Vitarine Pharms., Inc., 889 F.2d 490,

496 (3d Cir. 1989). This reasonableness standard is “reasonableness under the circumstances, with

reasonableness defined as an objective knowledge or belief at the time of the filing … that the



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claim was well-grounded in law and fact.” Ford Motor Co. v. Summit Motor Prods., Inc., 930 F.2d

277, 289 (3d Cir. 1991). The duty of “reasonable inquiry” is by no means a requirement “that pre-

suit investigation into the facts be carried to the point of absolute certainty.” Forbes v. Eagleson,

228 F.3d 471, 488 (3d Cir. 2000). The burden of proof and persuasion falls on the party moving

for sanctions. Tegg Corp. v. Beckstrom Elec. Co., 2008 U.S. Dist. LEXIS 100081, at *7 (W.D. Pa.

Dec. 10, 2008) (“the burden of proof and persuasion rests on the party moving for sanctions”);

Rich Art Sign Co., Inc. v. Ring, 122 F.R.D. 472, 474 (E.D. Pa. 1988) (“burden of proof on Rule 11

falls here on the defendants”).

V.     ARGUMENT

       A.      McAfee’s Motion is Premature

       At a minimum, McAfee’s Motion is premature given the very early stage of this litigation

and the limited amount of information that has been exchanged between the parties. McAfee

served a copy of its Motion without waiting to receive Kajeet’s infringement contentions which

were due only a few weeks later and which demonstrate why McAfee’s assertions are incorrect.

McAfee made it clear in its recent interrogatory responses that it is simply too early in the case to

evaluate the assertions it made in its Motion. In response to Kajeet’s Interrogatory No. 1 seeking

the factual basis for its non-infringement positions, McAfee objected:




Exh. 3 at 7 (highlighting added)2. If McAfee cannot provide the basis for its non-infringement


2
 All Exhibit cites made herein are to those attached to the Declaration of Corby R. Vowell, filed
concurrently herewith.

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positions at this stage of the case, then how is the Court expected to properly consider the issues

raised in the Motion and dismiss it with prejudice?

       McAfee’s refusal to provide meaningful technical documents on a timely basis is another

reason why its Motion is premature. According to the Scheduling Order, McAfee was to have

provided its core technical documents for the accused products on July 1, 2021. D.I. 22, at 4.

McAfee’s production was limited to a total of 22 pages of information and did not include any

typical internal design documents that describe the architecture and operation of the accused

products, such as technical specifications, requirements documents, software specifications, or

other functional specifications. Vowell Decl. at ¶ 4. McAfee’s scant production includes almost

no information relevant to the design of the accused products, and certainly contained no internal

technical information that could be used to confirm Kajeet’s infringement positions or verify

McAfee’s baseless claims. On July 7, 2021, Kajeet’s counsel sent a letter to McAfee describing

the categories of documents that McAfee should have produced related to the accused products.

Vowell Decl. at ¶ 4; Exhs. A, B. In its response, McAfee refused to provide these other technical

documents and instead said that it would only provide access to its source code. Id.

       McAfee then doubled down on its refusal to produce relevant technical information. Kajeet

served interrogatories and document requests on McAfee on July 27, 2021 seeking inter alia the

technical documents and information McAfee maintains and has for the accused products. Vowell

Decl. at ¶ 5; Exh. C. McAfee served its responses to both on August 26, 2021, yet McAfee

produced no documents along with those responses. Id.; Exh. D. After an inquiry to McAfee’s

counsel about its discovery responses, the parties held a meet and confer to discuss on August 31,

2021. McAfee’s counsel made it clear that it would not be produce any documents in the next

couple of weeks and instead would wait until approximately 4-6 weeks later to provide the bulk



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of its documents including the technical information that is highly relevant to this Motion. Vowell

Decl. at ¶ 5.

        McAfee likewise provided incomplete responses to the interrogatories. Specifically,

McAfee responded, in part, to the interrogatory regarding its non-infringement positions that

responsive information could be found in its source code. Yet, McAfee did not comply with Rule

33(d) and point to the specific portions or modules of the source code that were actually responsive

to the interrogatory. Vowell Decl. at ¶ 7; Exhs. C, G, H. Kajeet immediately requested that McAfee

do so, and during a meet and confer on this issue, McAfee’s counsel stated that it would not identify

which portions of the source code were relevant. Exh. H.

        Further, McAfee took no discovery in this case prior to serving a copy of its Rule 11

Motion. It did not serve interrogatories or take depositions related to the veracity of Kajeet’s

infringement assertions. Indeed, McAfee very recently received Kajeet’s infringement contentions

and served a copy of the Motion well before reviewing them.

        At this point, all McAfee can point to as Rule 11 violations are bald assertions based on no

evidence. Ultimately, the non-infringement issues raised by McAfee are questions for the Court

and jury to be decided on a more developed record. McAfee cannot cut off discovery and claim

construction, simply because it disagrees with Kajeet’s positions. See Gaiardo v. Ethyl Corp., 835

F.2d 479, 483 (3d Cir. 1987) (“We caution litigants that Rule 11 is not to be used routinely when

the parties disagree about the correct resolution of a matter in litigation.”). Given the current state

of the record, there is no basis to find that Kajeet violated Rule 11.

        B.      Kajeet Conducted a Sufficient Pre-Suit Investigation

        A reasonable and competent pre-filing inquiry entails “at a minimum, that an attorney

interpret the asserted patent claims and compare the accused device with those claims before filing



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a claim alleging infringement.” Q-Pharma, Inc. v. Andrew Jergens Company, 360 F.3d 1295,

1300-01 (Fed. Cir. 2004); see also MEMC Elec. Materials v. Mitsubishi Materials Silicon Corp.,

2004 U.S. Dist. LEXIS 29354, at *9-10 (N.D. Cal. July 9, 2004). There is no requirement to obtain

the accused product to perform reverse engineering analysis. GN Resound A/S v. Callpod, Inc.,

2013 U.S. Dist. LEXIS 142822, at *11 (N.D. Cal. Sep. 27, 2013) (citing Intamin, Ltd. Magnetar

Techs. Corp., 483 F.3d 1328, 1338 (Fed. Cir. 2007) (no blanket rule requiring reverse engineering

of accused product)).

       Kajeet and its attorneys investigated the ‘559 patent and its file history to understand the

meaning of the asserted claims and then applied the asserted claims to the accused products. Kajeet

and its counsel reviewed product literature, manuals, and videos published by McAfee describing

the components and functionality of the accused products. District courts have consistently held

that such activities constitute an adequate pre-filing investigation of patent infringement claims.

See, e.g., Mad Dogg Ath., Inc. v. Fitness Master, Inc., 2015 U.S. Dist. LEXIS 134942 at *5-8 (C.D.

Cal. September 28, 2015).

       In Q-Pharma, the Federal Circuit affirmed a denial of sanctions based on an allegedly

inadequate pre-filing investigation. The Federal Circuit rejected defendant’s argument that

plaintiff’s reliance on advertising material was not adequate to satisfy the requirements of Rule 11,

even in light of the fact that the plaintiff could have directly analyzed the accused products for

infringement. In its opinion, the Federal Circuit explicitly stated that such analysis was not

required. Q-Pharma, 360 F.3d at 1302 (“While it is true that Q-Pharma could have conducted a

more thorough investigation before filing suit, we conclude that its pre-filing infringement analysis

was supported by a sufficient evidentiary basis. Q-Pharma acquired a sample of the Curel (R)

CoQ[10] lotion and reviewed its advertising and labeling, which listed the product's ingredients



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and repeatedly touted the therapeutic effects of CoQ[10].”).

       Courts, including this Court, have found as sufficient pre-filing investigations that were

less thorough than Kajeet’s. See Antonious v. Spalding & Evenflo Cos., 275 F.3d 1066, 1072-73

(Fed. Cir. 2002) (reversing sanctions under Rule 11(b)(2) because counsel “independently

construed the patent claims before filing suit” and the construction was not frivolous); Prism

Techs. LLC v. Verisign, Inc., 579 F. Supp. 2d 625, 628 (D. Del. 2008). In Prism, for instance,

counsel “analyz[ed] [the patent-in-suit] and determin[ed] whether certain … products …

infringe[d] [,] developed detailed claim charts that analyzed [the] infringing products on an

element-by-element basis[,] [and] obtained numerous manuals, guides and other documentation

regarding the functionality of the … products ….” Prism Techs. LLC, 579 F. Supp. 2d at 628.

Based on that record, this Court held that counsel’s “pre-filing investigation was adequate to

support [its] claims of infringement ….” Id. Kajeet and its counsel’s pre-filing investigation at

least included the steps taken in Prism.

       Kajeet’s counsel reviewed product literature describing operation of the Accused Products

as well as third party articles reviewing the same. These documents showed that the Accused

Products effect similar functionality using a combination of hardware and software elements

consistent with the many other parental control products that Kajeet has accused of infringement

in prior litigations. Namely, the Accused Products effect policy-based control based on screen

time / scheduling rules, among others, through implementation of local agent software on a

controlled device communicating with a server backend. Sharma at ¶30.3


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 In connection with this Response, Kajeet offers for submission a declaration from its technical
expert, Mr. Chetan Sharma, which investigates and provides opinions on the operation of the
Accused Products. Because this information presents expert opinion well before it is required
pursuant to the schedule in this case, Kajeet hereby tenders Mr. Sharma’s declaration for in camera
inspection via delivery of it to the Court’s chambers, in lieu of filing. Acceleration Bay LLC v.
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       Product literature describing the operation of the accused products shows that parents can

update policies via an application using a parent’s device (i.e., phone, tablet, or computer)

accessing McAfee’s servers. Sharma at ¶29. For example, in the screen capture below, “Dad” is

logged in and able to view the profiles for two children. “Dad” has the ability through this portal

to access logged activity for each child which is collected from the child’s respective device(s) and

logged on McAfee’s servers for access by the parent. “Dad” may also see the policies applied

(“Screen time rules”), which may be modified, toggled on/off, or to which additional policies may

be added. This provides a reasonable basis for concluding that policies applied to manage the

child device(s) are set and stored on McAfee’s servers by an administrator, or parent. Mr. Sharma

agrees. Id.




Activision Blizzard, Inc., 2017 WL 9833512, at *1–2 (D. Del. 2017). Otherwise, McAfee will
unjustly benefit from its effort to disrupt the case schedule and prematurely obtain expert
discovery. Additionally, a Second Declaration of Corby R. Vowell is offered for submission for
in camera inspection, which discusses the pre-suit diligence undertaken by Kajeet’s counsel ahead
of filing its original Complaint in this lawsuit. Of course, if the Court prefers that these
declarations be filed, Kajeet will do so.
Kajeet will also tender for in camera inspection documents gathered and prepared by it as part of
its pre-suit investigation, to include a claim chart and supporting documentation if desired by the
Court. It is Kajeet’s intention to preserve, and not waive in any way, work product privilege
relating to its pre-suit diligence.

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                                             Exh. I at 3

       This is true regardless of the child’s device being used during initial registration to

configure policies. Use of the child’s device at initial set up effects authentication of that device

with the McAfee servers to allow for future communications therebetween. The child device

serves merely as the portal for accessing McAfee’s servers to set the master policies. This is

evident from the Accused Products accommodating updates to the master policies being made by

the parent through a parent device using the Safe Family application, rather than through the child’s

device. Sharma at ¶29-30.

       The accused products also provide for ad hoc updates to the policies applied in the form of

requested exceptions, as shown below:




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                                      Exh. I at 1 (video), 4

       The videos from which these screen captures were taken describe how the accused products

operate to block impermissible uses of a child’s device in real-time and in accordance with pre-

defined policies set by a parent. Sharma at ¶30. They also demonstrate the ability of the child to

request an exception to the policies applied in response to being blocked from performing some

function. In this scenario, the child “requests” additional screen time. The parent may grant or

deny that “request” using the parent’s device, which then results in what McAfee’s product videos

show as an instantaneous update to the policies enforceable on the child device. Sharma at ¶30.

       These communications are made through the McAfee Safe Family application resident on

the parent and child devices, respectively, and are routed through McAfee’s servers. Sharma at

¶30-31.   The granting or denying of such “requests” shown in McAfee’s product videos

demonstrate, at a minimum, that real time decisions regarding device usage are made at the

McAfee server and enforced on the child device. Id.

       McAfee’s product documentation further shows that during initial enrollment of a child

device, certain certificates must be installed and permissions granted which indicate that the

Accused Products maintain a continuous connection to McAfee’s servers.             For example,

installation on an iOS device includes download of the Safe Family application, followed by

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“installation of the needed certificate file,” an iOS profile, and designating Safe Family as trusted

by the device. These operations are necessary to allow for communication with the Safe Family

backend servers for transmission of requests and policy decisions, which are made via what

McAfee itself describes as continuous communication between the child device and McAfee’s

servers. Sharma at ¶31-32.




                                           Exh. J at 3-4




                                            Exh. K at 1

       Likewise, on Android devices, the Safe Family application requires permissions granting

it access to receive data from the Internet, full network access, to run at startup of device, and to

prevent the device from sleeping. These permissions are strongly indicative of the mobile

application maintaining a network connection to McAfee’s servers for the transmission and receipt


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of requests and policy decisions.




                                    Exh. L (highlighting added)

       Product reviews for the Accused Products confirm the same and further describe operation

of the Accused Products in manner consistent with Kajeet’s infringement claims.




                                 Exh. M (highlighting added) at 3

       These articles, which are based upon product testing by the respective authors, affirm that

using the Safe Family application parents can access real time information showing activity on the

child device and its current location. Again, this real time information can only be available to the

parent if the child device is in constant communication with the McAfee servers, which store


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master policies defining at least time / scheduling rules for device usage which are applied

simultaneously to devices associated with a child’s profile.




                                 Exh. N (highlighting added) at 4

       The evidence considered by Kajeet as part of its pre-suit investigation therefore provided

a reasonable basis for concluding that the Accused Products utilize the request-decide-enforce

control methodology required by the asserted claims, with master policies residing on McAfee’s

servers.

       Kajeet’s reasonable basis for asserting infringement by the Safe Family products is

bolstered by its counsel’s experience gained from prior litigations enforcing the ‘559 Patent.

Kajeet has asserted infringement of claims of the ‘559 Patent against several infringers over the

past few years, many of whom offer products accommodating virtually identical functionality to

manage the use of a child’s (or employee’s) mobile device as Safe Family. Through these

litigations, Kajeet’s counsel has learned about the typical operation of such products in accordance

with commonly encountered implementations, such as through the use of application software

acting as a local agent on the managed device in combination with a remote server storing master

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policies. This is the precise component arrangement utilized by the Safe Family product which is

used to effect similar or identical types of control that Kajeet has encountered in prior litigations.

       This acquired knowledge base in combination with the statements made and functionality

shown in publicly available documents and videos addressed to operation of the Safe Family

product more than justify Kajeet in bringing this lawsuit.

       C.      Kajeet Has a Reasonable Basis for Maintaining Its Case

       McAfee contends that Kajeet has no reasonable basis for maintaining its infringement

claims against the Safe Family product because, according to McAfee’s attorneys, the application

continues to effect some control over a child device even at times when the child device is not able

to communicate with McAfee’s remote servers. McAfee contends that policies must be stored on

the child device, therefore, and that communication with a server is not required for operation of

the Safe Family product. This is an unsupported strawman argument that is premised upon

application of claim constructions not entered in this case and upon unsupported conclusions.

       First, McAfee’s contention rests upon its failure to account for the necessary differences in

meaning between several claim terms, including at least constructions for a “decision” that is

received by the computing device from the server and for “a policy” that is stored at the server.

McAfee’s arguments do not treat these elements as two separate requirements of the claim and

appears to, instead, conflate them into a single requirement of the asserted claims. In other words,

McAfee’s argument is premised upon the incorrect notion that if anything is stored on the

computing device that may be consulted to enforce parental controls, then the language of the

asserted claims cannot be met. This is not what the claims require, however. This skewed




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interpretation is much narrower than the claim language expressly requires.4

       Second, McAfee erroneously presents the conclusion that some continued control even

when the device cannot communicate with a server necessarily means that policies must be stored

on the child device. This is not necessarily so, however. A more likely manner of operation that

would accommodate some continued offline enforcement would be for the child device to store

the most recent decisions received from the server for similar requests made at an earlier time

when communication with the server was available.5 Put another way, if the last time a request to

the server resulted in decision to not allow a particular action, then next time that action was

requested the device would attempt to query the server and, if unable to do so, would continue to

apply the previously received “block” decision. This manner of operation does not offend any

limitation of the asserted claims, which are silent as to the local storage of decisions. Further, this

manner of operation is expressly claimed in other claims of the ‘559 Patent, such as Claim 13.

       Third, to the extent McAfee’s contention could have any merit for demonstrating

noninfringement, it has not been supported by competent evidence. Several types of policies

effecting different controls over a child device are accused of infringement.           Additionally,

operation of the Safe Family product in connection with several different types of devices

implemented with different operating systems are accused. McAfee makes no attempt to address

each of the policy types as applied to each of the different operating systems Kajeet has accused.


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  Additionally, wholesale adoption of McAfee’s interpretation at this stage effectively forecloses
Kajeet from asserting infringement under the Doctrine of Equivalents. A key aspect of the asserted
claims is the application of decisions that are based on a policy stored at a server to control a
computing device. It is possible that this is achieved despite there being insubstantial differences
between characteristics of an accused product and the precise language of the asserted claims.
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  The actual and complete operation of the Accused Products will eventually be revealed when
McAfee belatedly makes a fulsome document production and/or when Kajeet is able to complete
its inspection of the source code.

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Instead, McAfee’s counsel provides generic and unsupported attorney argument purporting to

describe operation of the Safe Family product without any accounting for these various

implementations6 and yet, unbelievably, expects that Kajeet would dismiss its claims of

infringement in their entirety in response.

       Lastly, McAfee’s argument centers only on the operation of the Safe Family products when

not in its intended operating state or, stated differently, when they are in a non-functional mode of

operation. To be sure, Safe Family is intended to be used with connected devices to, among other

functionality, continuously inform the parent of the device’s location and how it is being used

while also enforcing the current master policies stored at the McAfee servers. When unconnected,

the devices cannot perform any of these functions. No activity or location reporting is possible.

Likewise, any changes or updates to policies made by a parent will not be enforced on the child

device. In this mode, Safe Family fails to provide any utility. Further, this mode of operation is

entirely outside of the scope of the asserted claims, each of which require that the controlled device

be connected to a communication network. Operations when not connected are immaterial,

therefore.

       Despite these glaring holes in McAfee’s noninfringement argument, Kajeet has

nonetheless diligently undertaken to review all information and materials available to it showing

operation of the Safe Family products to ascertain the veracity of McAfee’s arguments. This

includes consultation with an expert in the field, review of McAfee’s scant document production,

inspection of source code for Safe Family products, product testing on Android, iOS, and Windows

devices, and use of the WireShark packet sniffing software. This analysis showed McAfee’s


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  Notably, despite its assertions as to how the accused products operate, McAfee has refused to
identify any source code or product documentation in support of its noninfringement positions in
its response to Kajeet’s discovery requests. Vowell Decl. at ¶7.

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arguments to be unavailing and that Kajeet’s infringement position has merit.

       Briefly, Kajeet’s continued investigation into the operation of the Accused Products

indicates that they: (1) implement master policies that are stored on McAfee’s servers (or

“backend”); (2) cause controlled devices to direct communications through McAfee’s servers; (3)

McAfee’s server acts as an intermediary between input received from a parent device and

subsequent enforcement on a child device; (3) regular communication between the child device

and McAfee’s server are necessary for the Accused Product to operate as intended; and, (4) at least

some of these communication are triggered by attempted use of the computing device by a child,

as confirmed by testing, source code inspection, and use of WireShark. These topics and

evidentiary support for each are discussed in detail in the Sharma Declaration. Sharma at ¶17-30.

       The evidence accessible and inspected by Kajeet in this litigation, to date, fails to indicate

that Kajeet’s infringement position is incorrect. Rather, the evidence confirms Kajeet’s ongoing

reasonable basis for continuing in discovery and maintaining its infringement claims.

VI.    CONCLUSION

       For the reasons set forth above, McAfee’s Motion should be denied in its entirety.



 Dated: September 7, 2021                         Respectfully submitted,

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